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                           UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF ALASKA


In re:                        )
                              )                 Case No. 13-00531-GS
JASON THOMAS SERRANO,         )
                              )
                  Debtor.     )                 Chapter 7
______________________________)

                      ORDER ON MOTION FOR COURT APPROVAL
                        OF LOAN MODIFICATION AGREEMENT

         This matter having come before the court upon the motion of creditor PennyMac

Holdings, LLC for approval of a loan modification with the debtor (ECF No. 79) (Motion), and

the court having considered the Motion and the attachments thereto,

         IT IS ORDERED that the debtor’s Motion for Court Approval of Loan Modification

Agreement (ECF No. 79) is GRANTED in part. The debtor may enter into the proposed loan

modification with PennyMac Holdings, LLC, but nothing in this order shall be deemed to require

the debtor to do so, nor shall this order be construed as approval of the express terms of the

agreement at issue.

         Dated this 31st day of January, 2019

                                                            /s/ Gary Spraker
                                                            GARY SPRAKER
                                                            United States Bankruptcy Judge

Serve: J. Piranio, Esq.
       M. Severin, Esq.
       Debtor
       N. Jipping, Trustee
       U.S. Trustee
       ECF Participants via NEF
       Case Manager
